         Case 19-02764-jw            Doc 148 Filed 07/29/20 Entered 07/29/20 10:43:00                            Desc
                                          Hearing Notice Page 1 of 1
                                               United States Bankruptcy Court
                                                  District of South Carolina



Case Number: 19−02764−jw                                         Chapter: 11

In re:
 Sand Castle South Timeshare Owners Association, Inc.
                                                                                                       Filed By The Court
                                                    NOTICE OF HEARING                                        7/29/20
                                                                                                         Laura A. Austin
                                                                                                          Clerk of Court
                                                                                                       US Bankruptcy Court


PLEASE TAKE NOTICE that a hearing will be held at:

King and Queen Building
145 King Street
Room 225
Charleston SC 29401

on August 19, 2020 at 10:30 AM, to consider and act upon the following document(s):

Motion and Memorandum for an Order Establishing Bidding and Other Procedures, and Stalking Horse Bidder Protection, in
Connection with the Sale of the Condominiums Formerly in the Sand Castle South Resort Timeshare Plan Filed by Julio E.
Mendoza Jr. of Nexsen Pruet, LLC on behalf of Sand Castle South Timeshare Owners Association, Inc.

The document(s) related thereto have been filed with the Court. Any party objecting to the relief sought must file a response with
the Clerk of Court in accordance with applicable rules and statutes and must serve the party seeking the relief with a copy of
said objection by 8/12/20. Any party objecting but failing to appear in prosecution of the objection may be considered to have
waived the objection.




                                                                               Laura A. Austin
                                                                               Clerk of Court
                                                                               United States Bankruptcy Court

                                                                               By: N Stalvey, Deputy Clerk
                                                                               1100 Laurel Street
                                                                               Columbia, SC 29201−2423
                                                                               (803) 765−5436
